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           ORDERED in the Southern District of Florida on June 7, 2017.




                                                                      A. Jay Cristol, Judge
                                                                      United States Bankruptcy Court
_____________________________________________________________________________


                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov



         In re:                                                 CASE NO.: 17-12334-AJC
         ERNESTO BRANA                                          CHAPTER: 13

                         Debtor

         ____________________________/




           AGREED ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED
          STATUS OF LIEN ON REAL PROPERTY HELD BY BANK OF AMERICA, N.A., D.E. #
                                          19


                 THIS CAUSE having come before the court upon the Debtor, ERNESTO BRANA’S,

         Motion to Value and Determine Secured Status of Lien on Real Property Held by Bank of America,

         N.A. (D.E. #19), having been advised the parties have reached an agreement, this court having

         considered the basis for the motion, and being otherwise duly advised in the premises, it is

                  A.       The value of the debtor’s real property (the “Real Property”) located at

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                 2560 W. 60th Street, Apt #203, Hialeah, FL 33016-4437, and more particularly

                 described as:

   Legal Description: UNIT 203, VILLAS DE MARBELLA CONDOMINIUM, BLDG 2560,
   A CONDOMINIUM, ACCORDING TO THE DECLARATION OF CONDOMINIUM
  THEREOF, AS RECORDED IN OFFICIAL RECORDS BOOK 24822, PAGE(S) 909, ET
 SEQ., OF THE PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA; AND ANY
 AMENDMENTS THERETO; TOGETHER WITH AN UNDIVIDED INTEREST IN AND
TO THOSE COMMON ELEMENTS APPURTENANT TO SAID UNIT IN ACCORDANCE
WITH AND SUBJECT TO THE COVENANTS, CONDITIONS, RESTRICTIONS, TERMS
      AND OTHER PROVISIONS OF THE DECLARATION OF CONDOMINIUM

                 is $ 70,898.00 at the time of the filing of this case.


        B.       The total of all claims secured by liens on the Real Property senior to the lien of

                 Bank of America, N.A.(the “Lender”) is $169,696.88..

        C.       The equity remaining in the Real Property after payment of all claims secured by

                 liens senior to the lien of Lender is $0.00 and Lender has a secured interest in the

                 Real Property in such amount.

        Consequently, it is ORDERED as follows:

        1.       The Motion is GRANTED.

        2.       Lender has an allowed secured claim in the amount of $ 0.00.

        3.       Because Lender’s secured interest in the Real

                 Property is $0, Lender’s mortgage recorded on September 13, 2007 at

                 OR BOOK 25924 Pages 2294-2298 (5 pages) of the official records of

                 Miami-Dade County, Florida shall be deemed void and shall be extinguished

                 automatically, without further order of the Court, upon entry of the debtor’s

                 discharge in this chapter 13 case. If this case is converted to a case under

                 any other chapter or if the chapter 13 case is dismissed, Lender’s mortgage

                 will no longer be considered void and shall be restored as a lien on the
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                 Real Property.

        4.
               Lender has filed a proof of claim (#2-1) in this case. I t s hall be classified as a

               secured claim in the amount stated in paragraph 2, above, and as a general

               unsecured claim for any amount in excess of such secured claim, regardless of

               the original classification in the proof of claim as filed.


        5.       The Real Property may not be sold or refinanced without proper notice and further

                 order of the Court.

        6.       Notwithstanding the foregoing, this Order is not recordable or enforceable until

                 the debtor receives a discharge in this chapter 13 case.

        7.       Each party shall bear their own attorney’s fees and costs incurred in the present

                 case number.

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Submitted By:
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Attorney for debtor is directed to serve a conformed copy of this Order on all interested parties
immediately upon receipt hereof and to file a certificate of service.




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